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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
AT SEAT'I`_LE

CAAS TECHNOLOGIES, LLC l CONSOLIDATED
>Plaintiff, CASE NO. 2:15-cV-00624-JLR

VS.

ENVISION TELEPHONY INC.,
Defendant.

 

 

W -{P-ROPGS'E'B’[ ORDER GRANTING JOINT MOTION TO DISl\/HSS

Plaintiff CAAS TECHNOLOGIES, LLC (“CAAS”) and Defendant ENVISION
TELEPHONY INC. (“Envision”) have agreed to dismiss With prejudice all claims in the above-
captioned case. The Court, having considered this request, is of the opinion that their request for
dismissal should be GRANTED.

IT IS THEREFORE ORDER]§D that the above-entitled case and all claims by CAAS
against Envision and all claims by Eanvision against CAAS made therein are dismissed With
prejudice

IT IS FURTHER ORDERED that all attorneys’ fees, costs of court and expenses shall be
borne by each party incurring the same.

Signed this y§_ day of /j§:w ;\. , 2017. w

H`oN. J s L. ROBART
uNITED TATES DISTRICT JUDGE

 

 

 

